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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

     IN RE:                                                 )      In proceedings under
        Melissa E Lewis                                     )          Chapter 13
                                                            )
                                                            )
               Debtor(s).                                   )      Bk. No.: 24-40514
                                                            )
                            CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                                   TO DEBTOR(S)' AMENDED PLAN ONE

 TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

     COMES NOW, RUSSELL C. SIMON, Chapter 13 Trustee, and files this his Objection to Confirmation
 of the Debtor(s) Amended Plan One and in support thereof would respectfully show unto this Court the
 following (only those items checked apply):

1.         The Debtor(s)’ Plan is not feasible. [Disposable Income: $0.00 Plan Payment: $0.00]

2.         As of , the proposed Plan does not provide sufficient funding to pay all allowed secured/priority claims,
           as well as any required distribution to allowed general unsecured claims. The Trustee's plan calculation*
           has been emailed to counsel. [Current Base: $0.00 Estimated Minimum Req’d Base: $0.00]


3.         Pursuant to Form 122C-2, Line 45, the Plan must provide a minimum payment to all allowed
           non-priority unsecured claims of the lesser amount of $0.00 or 100%.

4.         The Plan proposed by the Debtor(s) fails to address the following secured and/or priority claims: .


5.         The Plan does not provide for payment of all of the Debtor(s)’ disposable income.
           [Disposable Income on Sch. J: $0.00 Plan Payment: $0.00]

6.         Pursuant to 1325(a)(4), the amount necessary to pay all classes of unsecured creditors is $0.00; however,
           Debtor(s)’ Plan only proposes to pay $0.00.

7.         Pursuant to the Proof of Claim filed by on , the Debtor(s) have not filed their tax returns. The
           Debtor(s) must provide the Trustee with evidence that these returns have been filed.

           If the Debtor(s) assert that they have filed the tax returns indicated on the tax agency's Proof of Claim as
           not filed, they must file an Objection to said Proof of Claim and/or otherwise have the taxing agency file
           an Amended Proof of Claim to set forth the correct amount of their priority debt, if any.
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8. X   Other: a. Pursuant to the terms of the standard chapter 13 plan for cases filed on or after April 1, 2017,
              Debtor(s) must select in Sections I, II or III, whether they have or have not included treatment of
              a claim in the specified section. Debtor(s) have selected “not included” in Section I but have
              included a provision in the specified paragraph. An amended plan must be filed to resolve this
              conflict.

              b. The Trustee has objection to the following expenses on Form 122C-2:

              Line #43 additional Trustee fee (1.3%) $45.50. This is not an allowable expense. The Form
              122C-2 must be amended to remove same.

              Line #43 2nd car ownership expense: $537.36. The Trustee requests an explanation and
              documentation to substantiate this expense.

              The disposable income cannot be determined until this objection has been resolved; the Chapter
              13 Plan may require amendment pursuant to the forthcoming amended Form 122C-2 to provide
              for payment of all disposable income.

              This is the 2nd time that the Trustee has been required to raise this objection.
       *The parties are advised that the plan calculation is subject to change based upon numerous factors,
       including, but not limited to, a change in the Trustee's percentage fee; missed or late plan payments; the
       filing of proof of claims in amounts substantially different from the amounts scheduled in the debtor(s)'
       plan; and the filing of amended proof of claims.



               WHEREFORE, PREMISES CONSIDERED, Russell C. Simon, Chapter 13 Trustee,
       respectfully prays that this Court deny confirmation of the Debtor(s)’ Plan, and grant him such other and
       further relief, both in law and in equity, to which he shows himself justly entitled.

                                                     /s/ Russell C. Simon
                                                     Russell C. Simon, Trustee
                                                     Chapter 13 Trustee
                                                     19 Bronze Pointe Ste. A
                                                     Swansea, IL 62226
                                                     Telephone: (618) 277-0086
                                                     Telecopier: (618) 641-2115


       Dated: March 06, 2025
       LD
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                                     CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of the above and foregoing Trustee's Objection to
 Confirmation to Debtor(s)' Amended Plan One was served on the parties listed below by ordinary U.S.
 Mail (with the correct postage prepaid and deposited in the U.S. Mail in Belleville, IL) or served
 electronically through the Court's ECF System at the email address registered with the Court on this
 day, Thursday, March 6, 2025.



                                              /s/Lisa

Melissa E Lewis
360 Kratzinger Hollow Rd
Cobden, IL 62920


.J D GRAHAM
1 EAGLE CENTER STE 3A
OFALLON, IL 62269
